                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                       NASHVILLE DIVISION

 THE LOCAL SPOT, INC., et al.,                      )
                                                    )
               Plaintiffs,                          )
                                                    )
 v.                                                 )   Case No. 3:20-cv-00421
                                                    )   Judge Richardson
 JOHN COOPER, et al.,                               )   Magistrate Judge Newbern
                                                    )
               Defendants.                          )


 TOOTSIE’S ENTERTAINMENT, LLC                       )
 d/b/a TOOTSIE’S ORCHID LOUNGE,                     )
 et al.,                                            )
                                                    )
               Plaintiffs,                          )
                                                    )
 v.                                                 )   Case No. 3:21-cv-00501
                                                    )   Judge Richardson
 JOHN COOPER, in his official                       )   Magistrate Judge Newbern
 capacity as Mayor of Metropolitan                  )
 Nashville-Davidson County, et al.,                 )
                                                    )
               Defendants.                          )

               SIXTH JOINT STATUS REPORT ON STATE COURT PROCEEDINGS

           In accordance with the Court’s Order (Doc. No. 212), the Parties submit this status

report of the state court proceedings. Since the Parties filed their Fifth Joint Status Report

(Doc. No. 220), they participated in a hearing on Metro Nashville’s Motion for Spoliation and

Motion for Sanctions. The Court took the motions under advisement and denied Metro

Nashville’s Motion to Set a March or April 2024 trial date, pending a decision on the Motion

for Spoliation and Motion for Sanctions.

           The Parties’ next status report will be filed within sixty (60) days.




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                                     Respectfully submitted,

                                     DEPARTMENT OF LAW OF THE
                                     METROPOLITAN GOVERNMENT OF
                                     NASHVILLE AND DAVIDSON COUNTY
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                                     DIRECTOR OF LAW

                                     /s/ Michael R. Dohn
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                                     Defendants



                                     /s/ Kirk L. Clements (w/ permission MRD)
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                                     /s/ James Bryan Lewis (w/ permission MRD)
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                                     Counsel for Plaintiffs




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                              CERTIFICATE OF SERVICE

     I hereby certify that a true and accurate copy of the foregoing has been served via the
CM/ECF electronic filing system to:

       Kirk L. Clements                           James Bryan Lewis
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       Nashville, TN 37201                        Nashville, TN 37203

       William L. Harbison
       Lisa K. Helton
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       Hunter C. Branstetter
       Sherrard Roe Voigt & Harbison, PLC
       150 3rd Avenue South, Suite 1100
       Nashville, TN 37201

on this 20th day of November 2023.

                                            /s/ Michael R. Dohn
                                            Michael R. Dohn




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